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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- x


MIRIAM ROCEK,                                                               [PROPOSED]
                                                                            JOINT PRETRIAL ORDER
                                                Plaintiff,
                                                                            15 Civ. 2017 (PKC)(SN)
                              -against-

NYPD SERGEANT FIOR BLANCO, NYPD LEGAL
BUREAU LIEUTENANT DANIEL ALBANO,
NYPD LEGAL BUREAU DETECTIVE KENNETH
O’DONNELL, NYPD OFFICER MICHAEL GALGANO
and NYPD OFFICER CYNTHIA BOYLE,

                                               Defendants1

----------------------------------------------------------------------- x

        The Parties in the above-captioned action, having conferred among themselves through
counsel, hereby submit the following proposed Joint Pretrial Order:

       I.    The names, addresses, cell phone numbers and email addresses of all counsel
             participating in the trial:

Plaintiff’s Counsel

    1. Gideon Orion Oliver
       Attorney for Plaintiff
       Miriam Rocek
       277 Broadway, Suite 1501
       New York, NY 10007
       Tel: (646) 263-3495
       Fax: (646) 349-2914
       Email: gideon@gideonlaw.com

    2. Elena Cohen

1
  Defendants have amended the caption to reflect the only parties remaining in this action
following the Court’s Opinion and Order dated March 7, 2018) (Dkt No. 48), the Court’s
Opinion and Order dated July 25, 2019) (Dkt. No. 164 and by stipulation of the parties. (Dkt.
No. 138). Plaintiff’s position is that such an amendment would require an application to the
Court.
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   Cohen & Green PLLC
   Attorney for Plaintiff
   Miriam Rocek
   1639 Centre Street, Suite 612
   Ridgewood, NY 11385
   Tel: (929) 888-9480
   Fax: (929) 888-9457
   elenacohenesq@gmail.com

3. Jessica Massimi
   Attorney for Plaintiff
   Miriam Rocek
   99 Wall Street, Suite 1264
   New York, NY 10005
   jessica.massimi@gmail.com
   646-241-9800

   Defendants’ Counsel

   James E. Johnson
   Corporation Counsel of the City of New York
   100 Church Street, 3rd Floor
   New York, New York 10007
   By:    Amy Robinson
          Telephone: (212) 356-3518
          Email: arobinso@law.nyc.gov



          Brachah Goykadosh
          Senior Counsel
          Telephone: (212) 356-3523
          Email: bgoykado@law.nyc.gov

 II.   Stipulations of fact and testimony, including a certification by lead trial counsel
       for all parties that they have met face-to-face for the purpose of endeavoring to
       reach agreement upon stipulations of fact and stipulations of testimony and the
       content of their stipulations:

       There are no stipulated facts and testimony. Counsel for the parties met face-to-face
       for the purpose of endeavoring to reach agreement upon stipulations of fact on
       February 20, 2020.




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    III.          A statement of the claims and defenses that remain to be tried. Any claim or
                  defense not so identified is deemed withdrawn:

                  Plaintiff’s Statement

                  Plaintiff Miriam Rocek’s remaining claims to be tried are claims for violations of
                  her so-called “fair trial rights” rights protected under the Fifth, Sixth, and/or
                  Fourteenth Amendments to the United States Constitution to be free from
                  being deprived of life, liberty, or property as the result of Defendants’ having
                  forwarded fabricated information to prosecutors.


                  Those claims remain against Defendants Daniel Albano, Fior Blanco, Cynthia Boyle,
                  Michael Galgano, and Kenneth O’Donnell.

                  Defendants’ Statement

                  Following the Court’s Opinion and Order dated March 7, 2016 (Dkt. No. 48), and the
                  Court’s Opinion and Order dated July 29, 2019 (Dkt. No. 66), plaintiff’s only
                  remaining claim to be tried by the jury is plaintiff’s 42 U.S.C. §1983 denial of right to
                  fair trial claim against Defendants Fior Blanco, Daniel Albano, Kenneth O’Donnell,
                  Michael Galgano and Cynthia Boyle and damages arising therefrom.

                  Defendants’ defenses are as follows:

             i.      Defendants did not fabricate material evidence against the plaintiff.

            ii.      Defendants have not violated any rights, privileges, or immunities under the
                     Constitution of laws of the United States or the State of New York or any political
                     subdivision thereof, nor has Defendant violated any acts of Congress providing
                     for the protection of civil rights.

           iii.      Defendants submit that they may be entitled to the defense of qualified immunity.

           iv.       Any injury alleged to have been sustained resulted from Plaintiff’s own culpable
                     or negligent conduct and was not the proximate result of any act of defendants.

    IV.           A statement by each party as to whether the case is to be tried with or without a
                  jury, and the number of trial days needed:

         Plaintiff’s Statement. Plaintiff has requested a trial by jury. Plaintiff estimates that the
trial will last approximately four to five days from jury selection until the jury is charged

         Defendants’ Statement. This case is to be tried by a jury and defendants estimate that
trial will require three to four days.




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     V.      A page and line designation of deposition testimony to be offered by each party
             on the party’s case in chief, with any cross-designations and objections by any
             other party:

Plaintiff’s designations:

        At this time, Plaintiff does not intend to use “read-ins” of any deposition testimony in her
        case-in-chief because she has informed Defendants she intends to present testimony from
        Defendants and certain third-party witnesses who were deposed in this case and in the
        related Caravalho matter, but reserves the right to use any deposition for impeachment
        purposes or in the event that any witness becomes unavailable for testimony at trial or in
        any other manner authorized by the Federal Rules of Civil Procedure and the Federal
        Rules of Evidence should it become necessary.

Defendant’s designations:

             Defendants are not designating any prior deposition testimony for their case-in-chief,
             but respectfully reserve the right to utilize deposition testimony in any manner
             authorized by the Federal Rules of Evidence and the Federal Rules of Civil Procedure
             should it become necessary including, but not limited to, for impeachment.
             Additionally, defendants object to use of deposition testimony of any witness not
             present at trial unless the party seeking to introduce such testimony has made a
             showing that the witness is unavailable as defined by Rule 804 of the Federal Rules
             of Evidence.

    VI.      A list by each party of exhibits to be offered in the party’s case-in-chief, with one
             star indicating exhibits to which no party objects on grounds of authenticity, and
             two stars indicating exhibits to which no party objects on any ground:

Plaintiff’s list:
 Exhibit                    Description                  Objection(s)2,3

2
 Per the Court’s Individual Rules of Practice, this column contains only “one star indicating
exhibits to which no party objects on grounds of authenticity, and two stars indicating exhibits to
which no party objects on any ground.”

With respect to Defendants’ statements that they “cannot verify the authenticity” of certain
exhibits: Defendants have copies of all of the documents referred to in the JPTO with the
possible exception of the final proposed exhibit because they were produced to Defendants in
Marom (and in some cases, the documents were produced to Defendants in
both Marom and Caravalho); and because they were also filed as part of Plaintiff’s summary
judgment briefing in this case. Moreover, Defendants have had Plaintiff’s proposed JPTO for
two weeks and never once raised any concerns that they could not verify the authenticity of any
of Plaintiff’s proposed exhibits until this afternoon. Upon learning of Defendants’ purported
concerns on the afternoon the proposed JPTO is due to the Court, Plaintiff’s counsel offered to
provide Defendants with courtesy copies of the exhibits without Bates Numbers that Defendants’
counsel claim they cannot verify the authenticity of.

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    Letter
    A.       Mass Arrest Report - D593b-D600b          *

    B.       After-Action Report - Caravalho           *
             D49-D57

    C.       Video exhibit, “Inside the NYPD Re-
             Eviction of Liberty Square
             M17.mp4” (“NYPD Re-Eviction”)4

    D.       Video exhibit, “NYPD’s Iron Fist_
             OWS Re -Occupation Arrests
             Protester Has Seizure in
             Handcuffs.mp4” (“NYPD Iron Fist”)
    E.       Video exhibit, “(2_2) NYPD violence
             v. OWS - March 17, 2012 (OWS 6
             Month Anniversary).mp4” (“NYPD
             Violence”)

    F.       Video exhibit, ““#ows arrests inside
             Zuccotti park during reoccupation
             31712 #m17.mp4”

    G.       NYPD Violence Still, 3:18
    H.       NYPD Violence Still, 3:20
    I.       NYPD Re-Eviction Still, 0:18
    J.       NYPD Violence Still, 3:22
    K.       NYPD Violence Still, 3:24
    L.       NYPD Re-Eviction Still, 0:34




Defendants’ position is that Defendants cannot stipulate to the authenticity of documents that are
not properly identified as having been produced in this case.
3
 An asterisk simply is an indication that a custodian of record does not need to be called to
verify the exhibit as a true copy. An asterisk does not affect any other objection and it is not a
concession of admissibility without a proper witness.
4
  The video exhibit titles are taken from the filenames of the videos as they were exchanged by
the parties.

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M.        NYPD’s Iron Fist Still, 1:32
N.        NYPD’s Iron Fist Still, 2:55
O.        NYPD’s Iron Fist Still, 3:09
P.        Rocek Photo of Torn Coat - P000116
Q.        Rocek Torn Coat
R.        Rocek journal entry
S.        NYPD Roll Call - Caravalho D496-             *
          D514
T.        December 18, 2014 Letter from Joy            *
          Anakhu to Rebecca Heinegg and
          Gideon Oliver in Caravalho
U.        February 3, 2015 Letter from Joy             *
          Anakhu to Rebecca Heinegg and
          Gideon Oliver in Caravalho
V.        Second February 3, 2015 Letter from          *
          Joy Anakhu to Rebecca Heinegg and
          Gideon Oliver in Caravalho
W.        THE EXHIBIT FORMERLY
          DESIGNATED AS “W” HAS BEEN
          OMITTED AS DUPLICATIVE
X.        Initial Arrest Summary - Caravalho           *
          D94
Y.        PG 213-05 – Duties at An Unusual             *
          Disorder - Caravalho D418-D426
Z.        PG 213-06 – Large Scale Arrest               *
          Processing Procedure - Caravalho
          D427-D428
AA.       PG 213-11 – Policing Special                 *
          Events/Crowd Control - Caravalho
          D429-D434
BB.       PG 213-15 – Duties and                       *
          Responsibilities at Special Events -
          Caravalho D435-D440




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    CC.       PG 208-03 – Arrests/General                As exhibit is not
              Processing                                 identified with Bates
                                                         number defendants
                                                         cannot verify
                                                         authenticity
    DD.       PG 208-15 – Arrest Report                  As exhibit is not
              Preparation at Stationhouse                identified with Bates
                                                         number defendants
                                                         cannot verify
                                                         authenticity
    EE.       PG 208-20 – Turnover Arrests               As exhibit is not
                                                         identified with Bates
                                                         number defendants
                                                         cannot verify
                                                         authenticity
    FF.       Legal Bureau Online Booking Sheet
              (“OLBS”) Narrative.- D181
    GG.       Albano Overtime Report - D263-             *
              D264
    HH.       O’Donnell Overtime Report - D265           *
    II.       O’Donnell Overtime Tracking Sheet - *
              D266-D267
    JJ.       Rocek OLBS Report – Arrest #     *
                                             5
              M12624791 – Bates No. D011-D014
    KK.       Rocek OLPA Report - D015-D016              *

    LL.       Rocek DA Datasheet - 000144,               As exhibit is not
              000147-000149                              identified with Bates
                                                         number defendants
                                                         cannot verify
                                                         authenticity
    MM.       Rocek Complaint - D97-D98                  *

    NN.       Rocek Court Action Sheet - D206-           *
              D207, D215

    OO.       Rocek Certificate of Disposition -         *
              D044



5
 For each OLBS Report, the Arrest # (beginning with an “M”) is listed first, followed by the
corresponding Bates Nos.

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PP.       Google Map of Area Surrounding
          Zuccotti Park marked by Defendant
          Boyle at her deposition
QQ.       Boyle OLBS Reports                        *
          M12624775 - D328-D331
          M12624781 - D334-D337
          M12624787 - D430-D433
          M12624794 - D495-D498

RR.       Boyle Complaints                          *
SS.       THE EXHIBIT FORMERLY
          DESIGNATED AS “SS” HAS BEEN
          OMITTED AS DUPLICATIVE
TT.       Boyle OLPA Reports                        As exhibit is not
                                                    identified with Bates
                                                    number defendants
                                                    cannot verify
                                                    authenticity
UU.       Boyle DA Datasheet - 000144,              As exhibit is not
          000147-000149                             identified with Bates
                                                    number defendants
                                                    cannot verify
                                                    authenticity
VV.       Galgano OLBS Reports                      *
          M12624773 - D001-D004
          M12624808 - D268-D271
          M12624780 - D274-D277
          M12624797 - D280-D283
          M12624790 - D489-D492

WW.       Galgano DA Datasheet - 000182-            As exhibit is not
          000185                                    identified with Bates
                                                    number defendants
                                                    cannot verify
                                                    authenticity
XX.       Galgano Complaint                         As exhibit is not
                                                    identified with Bates
                                                    number defendants
                                                    cannot verify
                                                    authenticity
YY.       Galgano Decline to Prosecute (“DP”)       As exhibit is not
          Forms                                     identified with Bates



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                                                 number defendants
                                                 cannot verify
                                                 authenticity
ZZ.        Galgano Memo Book - D025-D029         *

AAA.       Blanco Memo Book - D034-D042          *
BBB.       Valentine OLBS Reports                *
           M12624801 - D018-D021
           M12624820 - D340-D343
           M12624807 - D346-D349
           M12624832 - D352-D355
           M12624813 - D358-D361
CCC.       Valentine DA Datasheets               As exhibit is not
                                                 identified with Bates
                                                 number defendants
                                                 cannot verify
                                                 authenticity
DDD.       Valentine Complaints                  As exhibit is not
                                                 identified with Bates
                                                 number defendants
                                                 cannot verify
                                                 authenticity
EEE.       Valentine Memo Book - D30-D31         *
FFF.       Viviano Memo Book – Caravalho         *
           D344-D350, D441
GGG.       Ahmed OLBS Reports                    *
           M12624858 - D406-D409,
           M12624856 - D412-D415,
           M12624857 - Caravalho D1-D4
           M12624862 - Caravalho D5-D8
           M12624860 - Caravalho D17-D20
HHH.       Ahmed DP Forms                        As exhibit is not
                                                 identified with Bates
                                                 number defendants
                                                 cannot verify
                                                 authenticity
III.       Ahmed Memo Book - Caravalho           *
           D316-D318
JJJ.       A. Rodriguez OLBS Reports             *
           M12624846 - D507-D510
           M12624821 -D513-D516


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       M12624853 - D525-D528
       M12624835 - Caravalho D13-D16
       M12624838 - Caravalho D29-D32
KKK.   A. Rodriguez DP Forms                  As exhibit is not
                                              identified with Bates
                                              number defendants
                                              cannot verify
                                              authenticity
LLL.   A. Rodriguez Memo Book -               *
       Caravalho D332-D336
MMM.   Ho OLBS Reports                        *
       M12624766 - D364-D367
       M12624774 -D460-D463
       M12624792 - D466-D469
       M12624785 - D472-D475
       M12624776 - D478-D481
NNN.   Ho Complaints                          As exhibit is not
                                              identified with Bates
                                              number defendants
                                              cannot verify
                                              authenticity
OOO.   Li OLBS Reports                        *
       M12624851 - D376-D379
       M12624843 - D394-D397
       M12624839 - Caravalho D9-D12
       M12624847 - Caravalho D21-D24
       M12624825 - Caravalho D33-D36
PPP.   Li DP Forms                            As exhibit is not
                                              identified with Bates
                                              number defendants
                                              cannot verify
                                              authenticity
QQQ.   Li Memo Book - Caravalho D326-         *
       D331
RRR.   L. Rodriguez OLBS Reports              *

       M12624810 - D531-D534
       M12624803 - D537-D540
       M12624799 - D543-D546
       M12624811 - D549-D552
       M12624816 - D555-D558


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SSS.   L. Rodriguez Complaints           As exhibit is not
                                         identified with Bates
                                         number defendants
                                         cannot verify
                                         authenticity
TTT.   Lindao OLBS Reports               *
       M12624828 - D286-D289
       M12624824 - D292-D295
       M12624833 - D298-D301
       M12624831 - D304-D307
       M12624836 -D322-D325
UUU.   Lindao DP Forms                   As exhibit is not
                                         identified with Bates
                                         number defendants
                                         cannot verify
                                         authenticity
VVV.   Lindao Complaints                 As exhibit is not
                                         identified with Bates
                                         number defendants
                                         cannot verify
                                         authenticity
WWW.   Sullo OLBS Reports                *
       M12624783 - D436-D439
       M12624834 - D442-D445
       M12624827 - D448-D451
       M12624837- D454-D457
       M12624840 - D501-D504
XXX.   Sullo DP Forms                    As exhibit is not
                                         identified with Bates
                                         number defendants
                                         cannot verify
                                         authenticity
YYY.   Sullo Complaint                   As exhibit is not
                                         identified with Bates
                                         number defendants
                                         cannot verify
                                         authenticity
ZZZ.   Waring OLBS Reports               *
       M12624866 -D400-D403
       M12624873 - D484-D486



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    AAAA. Waring Complaint                                  As exhibit is not
                                                            identified with Bates
                                                            number defendants
                                                            cannot verify
                                                            authenticity
    BBBB.       Defendants’ Responses and                   *
                Objections to Plaintiffs’
                Supplemental Requests for
                Admissions dated May 23, 2016
    CCCC.       Defendants’ First Supplemental              *
                Responses and Objections to
                Plaintiffs’ Supplemental Requests for
                Admissions dated July 20, 2016
    DDDD. Defendants’ Rule 26(a) Disclosures                *
          dated October 18, 2016
    EEEE.       Defendants’ Responses and                   *
                Objections to Plaintiffs’
                Interrogatories and Document
                Demands dated November 10, 2016
    FFFF.       Arrest Processing Summary
                (demonstrative exhibit)
    GGGG. PG 203-08 – Making False                          As exhibit is not
          Statements                                        identified with Bates
                                                            number defendants
                                                            cannot verify
                                                            authenticity

      •     Plaintiff reserves the right to use additional illustrative exhibits prepared for the purposes
            of trial.

      •     Plaintiff reserves the right to use any of the items on Defendants’ exhibit list, without
            waiving any appropriate objections to introduction of same.

      •     Plaintiff reserves the right to amend this exhibit list for good cause.

Defendant’s list:6
 Exhibit
 Letter                            Description                                Objection(s), if any


6
 Defendants reserve the right to use plaintiff’s exhibits for any purpose and reserves the right to
amend their exhibit list.

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 Exhibit
 Letter                    Description                                   Objection(s), if any
             NYPD TARU Video—Det. Beatty and Stills of
   A.        Video


   VII.      A statement of the damages claimed and any relief sought, including the manner
             and method used to calculate the claimed damages and a breakdown of its
             elements:

             Ms. Rocek claims damages for the deprivations of liberty she suffered after her arrest,
             including in the form of being detained for 22 hours post-arrest, being formally
             arraigned and charged with criminal violations, being released on her own
             recognizance subject to New York Criminal Procedure Law § 510.40, being required
             to appear in court five additional times, and having criminal charges pending against
             her for over a year, as well as related reputational harm and “garden variety”
             emotional distress.

             Plaintiff is also seeking punitive damages against the Defendants related to their
             unconstitutional conduct.

             Plaintiff is seeking attorney’s fees and costs pursuant to 42 U.S.C. Section 1988.

             Plaintiff respectfully submits that the jury will determine damages in the manner it
             deems appropriate.

  VIII.      The name, and if not previously provided, the address and telephone number of
             each witness—separately identifying those the party expects to present and those
             it may call if the need arises:

Plaintiff’s Witness List:

   Parties

   1. Plaintiff Miriam Rocek

   2.   Defendant Lt. Daniel Albano
   3.   Defendant Sgt. Fior Blanco
   4.   Defendant Cynthia Boyle, Shield # 06663
   5.   Defendant Michael Galgano, Shield # 2671
   6.   Defendant Kenneth O’Donnell

   Third-Party Witnesses

   7. NYPD Officer Steven Valentine, Shield # 13585

   8. NYPD Officer Jabded Ahmed, Shield # 19415


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   9. NYPD Officer Cheung Li, Shield # 5474
   10. NYPD Officer Alexis Rodriguez, Shield # 28722
   11. NYPD Chief Joseph Esposito
   12. NYPD Inspector Edward Winski
   13. NYPD Lt. Frank Viviano

   •    In addition to the witnesses listed, Plaintiff reserves the right to call any of the witnesses
        listed by Defendants.

   •    Plaintiff further reserves the right to call additional witnesses for purposes of rebuttal
        and/or impeachment.

Defendant’s Witness List:

        1.     NYPD Chief Edward Winski

        2.     NYPD Lieutenant Daniel Albano

        3.     NYPD Detective Kenneth O’Donnell (currently on military leave. Defendants are
               attempting to determine if he will return before trial)

        4.     NYPD Sergeant Fior Blanco

        5.     NYPD Officer Michael Galgano

        6.     ADA Patricia Stolfi-Collins (or other representative from DANY)

        7.     ADA Kristen Mercani (or other representative from DANY)

        8.     NYPD Detective Michael Beatty (or other representative from the NYPD TARU
               unit)

SO ORDERED.

Dated: ______________, 2020
       New York, New York


                                               HONORABLE P. KEVIN CASTEL
                                               UNITED STATES DISTRICT JUDGE

                                       ****




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